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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
               v.                             :       CRIMINAL NUMBER 21-cr-158 (RC)
                                              :
                                              :
KYLE FITZSIMONS

    MR. FITZSIMONS’S SUPPLEMENT TO THE JOINT PRETRIAL STATEMENT

       Defendant Kyle Fitzsimons, through his undersigned attorney, seeks to supplement the

parties’ Joint Pretrial Statement with his objections to the government’s trial exhibits.

Accordingly, Mr. Fitzsimons objects to the admission of the following:

   1. Government Exhibit 104—Wooden Bow, on the grounds of relevance and being overly
      prejudicial. Fed. R. Evid. 401, 402, 403. Unless the government demonstrates that the
      wooden bow is the same bow allegedly possessed by Mr. Fitzsimons on the grounds of
      the Capitol on January 6, admission of this exhibit is not relevant. Even if the Court finds
      this exhibit is relevant, it is overly prejudicial. The jury will have ample opportunity to
      see a bow in video footage presented by the government. And introduction of a physical
      bow would likely be shocking to many jurors. Therefore, any probative value of this
      evidence is substantially outweighed by a danger of unfair prejudice.

   2. Government Exhibit 105—Box of Pelts, on the grounds of relevance and being overly
      prejudicial. Fed. R. Evid. 401, 402, 403. Unless the government demonstrates that the
      box of pelts contains the pelt allegedly worn by Mr. Fitzsimons on the grounds of the
      Capitol on January 6, admission of this exhibit is not relevant. Even if the Court finds this
      exhibit is relevant, it is overly prejudicial. The jury will have ample opportunity to see a
      pelt in video footage presented by the government. And introduction of a box of pelts
      would likely be disgusting and shocking to many jurors. Therefore, any probative value
      of this evidence is substantially outweighed by a danger of unfair prejudice.

   3. Government Exhibit 107—Pictures from Search of 35 Gully Oven Road—Residence, on
      the grounds that these pictures are irrelevant. See Fed. R. Evid. 401-02. Pictures of Mr.
      Fitzsimons’s living room and kitchen, for example, have no probative value. Pictures of
      wooden bows and pelts are also not relevant and are overly prejudicial for the reasons
      identified in Defense Objection 1 & 2.

   4. Government Exhibit 108—Pictures from Search of 35 Gully Oven Road—Truck, on the
      grounds that these pictures are not relevant. See Fed. R. Evid. 401-02.

   5. Government Exhibit 200—USCP Compilation Video, on the grounds that the


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   government must properly authenticate this exhibit. See Fed. R. Evid. 901(a); cf. United
   States v. Rembert, 863 F.2d 1023, 1027 (D.C. Cir. 1988) (In the case of photographic
   evidence, “[a]uthentication and identification are specialized aspects of relevancy that are
   necessary conditions precedent to admissibility.”); United States v. Lawson, 494 F.3d
   1046, 1052 (D.C. Cir. 2007) (To authenticate a photograph, “a witness with knowledge of
   the scene [may] testif[y] that it accurately depicts the scene it purports to represent.”); see
   also United States v. Louis, No. 11-023, 2011 WL 6255152, at *4 (D.V.I. Dec. 13, 2011)
   (“[A] party may authenticate video footage through different types of evidence—
   including that the recording equipment was accurate and that the chain of custody of the
   material was maintained; or by testimony from a witness that the footage depicts what
   they observed with their own senses; or by some combination thereof.” (citing United
   States v. Goldin, 311 F.3d 191, 197 (3d Cir.2002) and other cases)); United States v.
   Scott, No. 21-429 , 2022 WL 865861, at *3 (S.D.N.Y. Mar. 23, 2022) (noting there is no
   “rigid formula for evaluating the authenticity of video tapes, [and] the requisite indicia
   of authenticity can be created by presenting witnesses who recall the events depicted,
   testimony as to the chain of custody, testimony of the person recording the events, or any
   other evidence tending to show the accuracy of the depictions.” (citing Fed. R. Evid.
   901(b); United States v. Whittingham, 346 F. App’x 683, 685 (2d Cir. 2009))).

6. Government Exhibit 200A—Stills from USCP compilation video, on the grounds that the
   government must properly authenticate these stills. See Def. Objection 5.

7. Government Exhibit 216-216A—YouTube video & Stills, on the grounds that the
   government must properly authenticate these exhibits. See Def. Objection 5.

8. Government Exhibit 217-217A—YouTube video & Stills, on the grounds that the
   government must properly authenticate these exhibits. See Def. Objection 5.

9. Government Exhibits 218-218A—hRVW9zpRAAxO_cvt.mp4 & Stills, on the grounds
   that that the government must properly authenticate these exhibits. See Def. Objection 5.

10. Government Exhibits 219-219A—LQKqUqbhU50v_cvt.mp4 & Stills, on the grounds
    that the government must properly authenticate these exhibits. See Def. Objection 5.

11. Government Exhibits 220-220A—U0x7kbofMuDi_cvt.mp4 & Stills, on the grounds that
    the government must properly authenticate these exhibits. See Def. Objection 5.

12. Government Exhibits 221-221A—4T27m6Ij4YA9_cvt.mp4 & Stills, on the grounds that
    the government must properly authenticate these exhibits. See Def. Objection 5.

13. Government Exhibit 222—Town of Lebanon BOS Meeting, 01/07/2021, YouTube, on
    the grounds that the government must properly authenticate this exhibit. See Def.
    Objection 5.

14. Government Exhibit 223—Collection of Open Source Photos, on the grounds that that
    the government must properly authenticate these photographs. See Def. Objection 5.



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15. Government Exhibit 312—Text message from Justine Fitzsimons, on the grounds that the
    text message is not relevant, and even if relevant, is unduly prejudicial. See Fed. R. Crim.
    P. 401-03. In addition, the text message in inadmissible hearsay.

16. Government Exhibit 403—Safeway Early Closure Notice for Washington, D.C. stores,
    1/6/2021, on the grounds that the government must properly authenticate this exhibit. See
    Fed. R. Evid. 901(a). However, defense counsel believes the parties’ Stipulation #4
    regarding Safeway Stores obviates the need for this exhibit.

17. Government Exhibit 405—Safeway Warehouse Shipments Lancaster, PA to Washington,
    D.C. stores 1/3/2021-1/9/21, on the grounds that the government must properly
    authenticate this exhibit. See Fed. R. Evid. 901(a). However, defense counsel believes the
    parties’ Stipulation #4 regarding Safeway Stores obviates the need for this exhibit.

18. Government Exhibit 503—Video Montage- including Congressional Record and video
    footage from House and Senate, on the grounds that the government must properly
    authenticate this exhibit. See Def. Objection 5.

19. Government Exhibit 503A—Source References for Video Montage, on the grounds that
    the government must properly authenticate this exhibit. See Fed. R. Evid. 901(a).

20. Government Exhibit 504—Screenshots from House Chamber Video, on the grounds of
    relevancy. See Fed. R. Crim. Evid. 401-02. Images of the House Chamber have no
    probative value in determining whether Mr. Fitzsimons is guilty of the charged offenses.
    Additionally, the government must properly authenticate this exhibit. See Fed. R. Evid.
    901(a).

21. Government Exhibit 602—Photo of U.S. Capitol with signs on metal barriers, on the
    grounds that the government must properly authenticate this exhibit. See Def. Objection
    5.

22. Government Exhibit 603—Photo of Area Closed sign on metal barrier, on the grounds
    that the government must properly authenticate this exhibit. See Def. Objection 5.

23. Government Exhibit 604—Photo of Area Closed sign, on the grounds that the
    government must properly authenticate this exhibit. See Def. Objection 5.

24. Government Exhibit 608—Sgt. Gonell Medical Records, to the extent that the medical
    records describe alleged injuries that occurred at a time separate and distinct from Sgt.
    Gonell’s interaction with Mr. Fitzsimons on January 6, 2021.

25. Government Exhibit 609—Det. Nguyen Medical Records, on the grounds that these
    records were not provided to defense counsel.

26. Government Exhibit 610—Voicemail to Congressman Jared Golden, on the grounds



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   stated in Mr. Fitzsimons’ Response to the government’s Motion in Limine. The Court
   granted the government’s Motion as to this voicemail.

27. Government Exhibit 612—Facebook Message, on the grounds stated in Mr. Fitzsimons’
    Response to the government’s Motion in Limine. The Court has deferred ruling on the
    Motion.

28. Government Exhibit 613-615—Jail Calls #1-3, on the grounds that the calls are not
    relevant, and even if relevant, they are unduly prejudicial. See Fed. R. Evid. 401-03. In
    addition, the government has provided only these three jail calls to defense counsel, who
    has requested that all jail calls be provided.

29. Government Exhibit 616—Rochester Voice Article, on the grounds that the article is
    irrelevant, and constitutes hearsay. See United States v. Michtavi, 155 F. App’x 433, 435
    (11th Cir. 2005) (“[A] newspaper article is hearsay, and in almost all circumstances is
    inadmissible.” (alteration in original)).



                                         Respectfully submitted,

                                         /s/ Natasha Taylor-Smith
                                         NATASHA TAYLOR-SMITH
                                         Assistant Federal Defender




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                                 CERTIFICATE OF SERVICE

        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I caused a copy of the

foregoing Defendant’s Supplement to the Joint Pretrial Statement to be served by Electronic

Case Filing (“ECF”) upon Douglas Burton Brasher, Assistant United States Attorney, United

States Attorney’s Office, 1100 Commerce Street, Third Floor, Dallas, TX 75242, and Michael

Matthew Gordon, Assistant United States Attorney, United States Attorney’s Office, 400 North

Tampa Street, Suite 3200, Tampa, FL 33602.



                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender

DATE:          May 26, 2022




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